        Case 20-12017-pmm                       Doc      Filed 11/26/24 Entered 11/26/24 09:45:58                                  Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 9
 Debtor 1               Roosevelt Crapps, Jr.
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            EASTERN                          PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        20-12017-mdc
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Firstrust Bank                                                                                           16
 Name of creditor: _______________________________________                               Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          0179 ____ ____ ____
                                                         ____                            Must be at least 21 days after date          01/01/2025
                                                                                         of this notice


                                                                                         New total payment:                          1,297.78
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
       X
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________
                                              482.81
                   Current escrow payment: $ _______________                           New escrow payment:            399.96
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
       X   No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       X   No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
      Case 20-12017-pmm                              Doc          Filed 11/26/24 Entered 11/26/24 09:45:58                            Desc Main
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Debtor 1         Roosevelt Crapps, Jr.
                 _______________________________________________________                                                20-12017-mdc
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.
      X
           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.


                                                                                                          11/26/24
      /s/ Andrew M. Lubin
     _____________________________________________________________                              Date    ____/_____/________
     Signature




 Print:              Andrew M. Lubin
                    _________________________________________________________                   Title    Attorney for creditor
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company             McCabe, Weisberg & Conway, LLC
                    _________________________________________________________



 Address             1420 Walnut Street, Suite 1501
                    _________________________________________________________
                    Number                 Street

                     Philadelphia, PA 19102
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone        215
                    (______)  790
                             _____–   1010
                                    _________                                                          ecfmail@mwc-law.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                                    Document      Page 3 of 9

                        UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:   Roosevelt Crapps, Jr.            Chapter 13
                                          Bankruptcy No. 20-12017-mdc
                      Debtor(s)

Firstrust Bank, or its Successor or Assignee
                        Movant
               vs.

Kenneth E. West, Trustee
Roosevelt Crapps, Jr.
                      Respondent(s)

  CERTIFICATION OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE

         I, Andrew M. Lubin, attorney for Firstrust Bank, hereby certify that I served a true and
 correct copy of the foregoing Notice of Mortgage Payment Change, by United States Mail, first
 class, postage prepaid, and/or electronic means, upon the following:
 Date Served:     11/26/24


 Roosevelt Crapps, Jr.             MICHAEL A. CIBIK                 Kenneth E. West
 1383 Pennington Road              Cibik Law, P.C.                  Office of the Chapter 13
 Philadelphia, Pennsylvania        1500 Walnut Street               Standing Trustee
 19151                             Suite 900                        1234 Market Street - Suite
                                   Philadelphia, PA 19102           1813
                                   Attorney for Debtor              Philadelphia, Pennsylvania
                                                                    19107
                                                                    Trustee

                                   United States Trustee
                                   Office of the U.S. Trustee
                                   Robert N.C. Nix Federal
                                   Building
                                   Suite 320
                                   Philadelphia, PA 19107


                                       /s/ Andrew M. Lubin
                                       MARISA MYERS COHEN, ESQUIRE ID #87830
                                       ANDREW M. LUBIN, ESQUIRE ID # 54297
                                       Attorney for Firstrust Bank
                                       1420 Walnut Street, Suite 1501
                                       Philadelphia, PA 19102
                                       Telephone: (215) 790-1010
                                       Facsimile: (215) 790-1274
                                       Email: ecfmail@mwc-law.com
                                                          Representation of Printed Document
       Case 20-12017-pmm             Doc       Filed 11/26/24 Entered 11/26/24 09:45:58 Desc Main
                                               Document      Page ANNUAL
                                                                  4 of 9     ESCROW ACCOUNT
                             PO Box 77404                             DISCLOSURE STATEMENT
                             Ewing, NJ 08628


                                                                                                        1383 PENNINGTON ROAD
                                                                      Property Address
                                                                                                         PHILADELPHIA PA 19151
                                                                      Statement Date                                   10/08/2024
    ROOSEVELT CRAPPS JR
    1383 PENNINGTON RD                                                Loan Number
    PHILADELPHIA PA 19151-2839
                                                                      New Mortgage Payment Amount                        $1,297.78
                                                                      New Payment Effective Date                       01/01/2025




Overview
Each year, we perform an analysis of your escrow account to ensure that there are enough funds to meet the required minimum
balance to pay your projected taxes and insurance premiums. This Annual Escrow Account Disclosure Statement details our findings.

w   Results of Our Analysis: You have a SHORTAGE. Your escrow account balance is                  Your escrow account has a
    expected to fall below the required minimum balance.                                          shortage in the amount of

w   What This Means for You: Your shortage will be spread over 12 months and
    included in your monthly payment.                                                             $240.61
w   Your Future Monthly Payment: Your payments will decrease, based on our escrow
    analysis projections for the next calendar year.


Why do I have a shortage?
Below is a summary of your recent escrow activity. For more information about why your taxes or insurance premium adjusted,
please contact your taxing authority or your insurance company.

For more details on how any insurance and/or tax adjustments will affect your future payments, please see the Escrow Account
Projections section.


Annual Escrow Review                                                     Monthly Payment Comparison
                               Expected                 Now Expect                                        Current           New
Escrow Item                      to Pay        Change       to Pay       Payment Itemization           10/01/2024     01/01/2025
INSURANCE                       $1,240.00        +        $1,408.00      Principal and Interest           $897.82         $897.82
  HAZARD INS                                              $1,408.00      Escrow Deposit                   $482.81         $379.91
TAXES                           $3,150.95                 $3,150.95      Escrow Shortage                                   $20.05
  CNTY,CTY,SCH                                            $3,150.95              Total Payment           $1,380.63      $1,297.78
TOTAL DISBURSEMENTS             $4,390.95        +        $4,558.95



How was my shortage determined?                                                                                           PE


A shortage occurs when your lowest projected escrow balance is             REQUIRED MINIMUM BALANCE                       $759.83
less than your required minimum balance. This is determined by             Balance 03/2025
simply subtracting the Required Minimum Balance from the
lowest Projected Escrow Balance, as highlighted in the Escrow
Account Projections section.
                                                                           ESCROW SHORTAGE                              $240.61
Your required minimum balance is determined by federal law,
state law and your loan contract and includes a payment cushion
of up to two months of escrow payments to help cover any
increase in taxes and/or insurance.

Your current payment cushion is $759.83.
                                                                 Representation of Printed Document
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                                                     Document             ACCO
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Escrow Account History
This section is the actual activity that occurred from 11/2023 through 01/2024. It represents the period of time between the last
analysis statement date and the last analysis effective date.

                       Actual Escrow          Actual Escrow      Actual Escrow
  MONTH                 PAYMENTS          DISBURSEMENTS          DESCRIPTION                                                 BALANCE
                                                                 BEGINNING BALANCE                                             $1,135.81
  Nov 2023                    $306.17                                                                                          $1,441.98
  Dec 2023                    $306.17                                                                                          $1,748.15
  Jan 2024                    $513.14                                                                                          $2,261.29


Escrow account activity from February 2024 to December 2024
This section details your actual escrow account activity for the review period, which may help explain any changes to your payment.

                DEPOSITS TO ESCROW                PAYMENTS FROM ESCROW                                        ESCROW BALANCE
Date              Projected         Actual           Projected        Actual     Description                   Projected           Actual
                                                                                 BEGINNING BALANCE             $3,150.96       $2,261.29
 Feb 2024          $365.91                    *                                                                $3,516.87       $2,261.29
 Mar 2024          $365.91          $482.81*         $3,150.95      $3,150.95    CNTY,CTY,SCH                      $731.83      -$406.85
  Apr 2024         $365.91          $482.81*                                                                   $1,097.74            $75.96
 May 2024          $365.91          $482.81*                                                                   $1,463.65         $558.77
 Jun 2024          $365.91          $482.81*                                                                   $1,829.56       $1,041.58
  Jul 2024         $365.91          $482.81*                                                                   $2,195.47       $1,524.39
 Aug 2024          $365.91          $482.81*                                                                   $2,561.38       $2,007.20
 Sep 2024          $365.91          $482.81*                        $1,408.00 * HAZARD INS                     $2,927.29       $1,082.01
  Oct 2024         $365.91          $482.81*         $1,240.00                  * HAZARD INS                   $2,053.20       $1,564.82
 (estimate)
  Nov 2024         $365.91          $482.81*                                                                   $2,419.11       $2,047.63
 (estimate)
 Dec 2024          $365.91          $482.81*                                                                   $2,785.02       $2,530.44
 (estimate)
  Jan 2025         $365.91                    *                                                                $3,150.93
   Totals         $4,390.92       $4,828.10          $4,390.95      $4,558.95

An asterisk (*) beside an amount indicates a difference from projected activity either in the amount or the date. Please note since
mortgage insurance is paid monthly on the annual renewal date of the premium and PMI is paid monthly for the prior month’s
premium, additional asterisks report in the Account History for these items, if applicable.

The "estimate" under any of the dates indicates that the payment or disbursement has not yet occurred, but is estimated to occur as
shown.

Last year we anticipated that Disbursements would be made from your Escrow Account during the period equaling $4,390.95. Under
Federal Law, your lowest monthly balance should not have exceeded $632.11, or 1/6th of total anticipated payments from the
account, unless your loan contract or State law specifies a lower amount. Under your loan contract and State law your lowest
monthly balance should not have exceeded $731.83.


Escrow Account Projections
This section provides an estimate of all payments we anticipate receiving as well as what we expect to pay on your behalf in the next
year. The lowest projected balance and required minimum balance are highlighted for reference.

Escrow account projections from January 2025 to December 2025

                PAYMENTS      WHAT WE                                                           PROJECTED                 REQUIRED
  DATE         TO ESCROW EXPECT TO PAY DESCRIPTION                                         ESCROW BALANCE           ESCROW BALANCE
                                                   BEGINNING BALANCE                                   $2,530.44               $2,771.05
 Jan 2025          $379.91                                                                             $2,910.35               $3,150.96
 Feb 2025          $379.91                                                                             $3,290.26               $3,530.87

 Mar 2025          $379.91              $3,150.95 CNTY,CTY,SCH                                        $519.22                $759.83
 Apr 2025          $379.91                                                                               $899.13               $1,139.74
 May 2025          $379.91                                                                             $1,279.04               $1,519.65
 Jun 2025          $379.91                                                                             $1,658.95               $1,899.56
  Jul 2025         $379.91                                                                             $2,038.86               $2,279.47
 Aug 2025          $379.91                                                                             $2,418.77               $2,659.38
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              PAYMENTS      WHAT WE                                                              PROJECTED              REQUIRED
  DATE       TO ESCROW EXPECT TO PAY DESCRIPTION                                            ESCROW BALANCE        ESCROW BALANCE
Sep 2025             $379.91                                                                         $2,798.68               $3,039.29
 Oct 2025            $379.91            $1,408.00 HAZARD INS                                         $1,770.59               $2,011.20
Nov 2025             $379.91                                                                         $2,150.50               $2,391.11
Dec 2025             $379.91                                                                         $2,530.41               $2,771.02
TOTALS             $4,558.92            $4,558.95



New Loan Payment
Your new payment
consists of:                     Principal & Interest (P & I)               $897.82
                                            Escrow Deposit                  $379.91
                                         Escrow Shortage                     $20.05
NEW LOAN PAYMENT           Beginning on January 01, 2025                  $1,297.78



Customer Service

    firstrust.loanadministration.com
     Live Chat: Find all your loan           Correspondence                   Hours of Operation                   Telephone
     information online. Still have
     questions? Use Live Chat on             PO Box 77423                     8:30 AM - 8:00 PM ET M-F             800-229-0272
     the website to speak with one           Ewing, NJ 08628
     of our representatives.
                                            We accept telecommunications relay service calls.
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Important Information

AUTOPAY HOMEOWNERS

If you’re enrolled in Autopay, any additional principal deductions you have previously authorized are not included in the above listed
new payment amount. However, until we are otherwise advised, the authorized additional principal amount will continue to be
withdrawn from your account.

ADJUSTABLE RATE MORTGAGE CUSTOMERS

If your loan has an adjustable interest rate, your monthly principal and interest payment may change prior to your next Escrow
Analysis.

INSURANCE RENEWAL/CHANGING INSURANCE

Upload proof of insurance coverage at www.mycoverageinfo.com/Cen300. Your insurance documents can also be sent to us via the
following methods: Email: Cen300@mycoverageinfo.com or mail to: PO Box 202028, Florence, SC 29502-2028.

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED OR IS SUBJECT TO THE AUTOMATIC STAY IN A
BANKRUPTCY PROCEEDING, THIS LOAN STATEMENT IS FOR INFORMATIONAL PURPOSES ONLY AND DOES
NOT CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT INDEBTEDNESS AS YOUR
PERSONAL OBLIGATION.
                                                                                                      Representation of Printe                                                                  6.00




     HOW TO READ YOUR
Case 20-12017-pmm                                     Doc                 Filed 11/26/24 Entered 11/26/24 09:45:58                                                   Desc Main
                                                                          Document      Page 8 of 9
     ANNUAL ESCROW ACCOUNT
     DISCLOSURE STATEMENT




     A quick guide to help you understand all your
     important escrow account information.




                 PO BOX 77404                                                             ANNUAL ESCROW ACCOUNT                                 Statement Identifying Information
                 EWING, NJ 08628
                                                                                          DISCLOSURE STATEMENT
                                                                                                                                                Look here to find some basics, including
         FNAME1 LNAME1
                                                                                          Property Address                           ADDRESS
                                                                                                                       CITY, STATE XXXXX-XXXX
                                                                                                                                                your loan number, new mortgage payment
         FNAME2 LNAME2
         ADDRESS 1                                                                        Statement Date                        MM/DD/YYYY      amount and new payment effective date.
         CITY, STATE XXXXX-XXXX                                                           Loan Number                            XXXXXXXXXX
                                                                                          New Mortgage Payment Amount               $X,XXX.XX
                                                                                          New Payment Effective Date            MM/DD/YYYY



                                                                                                                                                Overview
      Overview
                                                                                                                                                Go here to see whether you have a shortage
     Each year, we perform an analysis of your escrow account to ensure that there are enough funds to meet the required minimum balance to
     pay your projected taxes and insurance premiums. This Annual Escrow Account Disclosure Statement details our findings.                     or surplus (including the amount) or
     Z   Results of Our Analysis: You have a SHORTAGE. Your escrow account balance is
                                                                                                                   Your escrow account has a
                                                                                                                                                sufficient funds. Learn how any surplus
                                                                                                                                                or shortage may be handled, and whether
         expected to fall below the required minimum balance.
                                                                                                                   shortage in the amount of
     Z   What This Means for You: Your shortage will be spread over <XX> months and included


     Z
         in your monthly payment.
         Your Future Monthly Payment: Your payments will <increase/decrease/stay the same>,
                                                                                                                   $XXX.XX                      your future monthly payment will increase,
         based on our escrow analysis projections for the next calendar year.
                                                                                                                                                decrease or stay the same.
      Why do I have a shortage?
     Below is a summary of your recent escrow activity. For more information about why your taxes or insurance premium adjusted, please
     contact your taxing authority or your insurance company.

                                                                                                                                                Summary
     For more details on how any insurance and/or tax adjustments will affect your future payments, please see the Escrow Account
     Projections section.

     Annual Escrow Review                                                    Monthly Payment Comparison
                                                                                                                                                This quick summary of your recent escrow
     Escrow Item     Expected to Pay Change Now Expect to Pay                                                    Current               New
     Insurance            $XXX.XX         +/-             $XXX.XX            Payment Itemization             MM/DD/YYYY         MM/DD/YYYY      activity can help you learn more about why
                                                                                                                                                you may have a surplus or shortage. See
                          $XXX.XX         +/-             $XXX.XX            Principal and Interest                $XXX.XX            $XXX.XX
                          $XXX.XX         +/-             $XXX.XX
                                                                             Escrow Deposit                            XXX.XX          XXX.XX

                                                                                                                                                the difference between what was expected
                          $XXX.XX         +/-             $XXX.XX
                          $XXX.XX         +/-             $XXX.XX            Escrow Shortage                           XXX.XX          XXX.XX


                                                                                                                                                to be paid for taxes and insurance versus
                          $XXX.XX         +/-             $XXX.XX            Miscellaneous                             XXX.XX          XXX.XX
                          $XXX.XX         +/-             $XXX.XX
                                                                                          Total Payment            $XXX.XX            $XXX.XX

                                                                                                                                                what is now expected to be paid for the
     Taxes                $XXX.XX         +/-             $XXX.XX
                          $XXX.XX         +/-             $XXX.XX

                                                                                                                                                upcoming period, as well as how your
                          $XXX.XX         +/-             $XXX.XX
                          $XXX.XX         +/-             $XXX.XX

                                                                                                                                                new monthly payment compares to your
                          $XXX.XX         +/-             $XXX.XX
                          $XXX.XX         +/-             $XXX.XX
     Mortgage
     Insurance
                          $XXX.XX         +/-             $XXX.XX
                                                                                                                                                existing payment.
      How was my shortage determined?
     A shortage occurs when your lowest projected escrow balance
     is less than your required minimum balance. This is determined
     by simply subtracting the Required Minimum Balance from the
                                                                             REQUIRED MINIMUM BALANCE
                                                                                                                                $X,XXX.XX
                                                                                                                                                Required Minimum Balance
                                                                             Balance MM/DD/YYYY
     lowest Projected Escrow Balance, as highlighted in the Escrow
     Account Projections section.                                                                                                               Your required minimum balance, also
     Your required minimum balance is determined by federal
     law, state law and your loan contract and includes a payment                                                                               known as your payment cushion, covers any
                                                                             ESCROW SHORTAGE                                    $XXX.XX
                                                                                                                                                unanticipated tax or insurance increases.
     cushion of up to two months of escrow payments to help cover
     any increase in taxes and/or insurance.
     Your current payment cushion is $XXX.XX.
                                                                                                                                                Your projected escrow balance is what we
                                                                                                                                                anticipate your lowest balance will be in the
                                                                                                                                                next 12 months. The difference between
                                                                                                                                                these two amounts will determine whether
                                                                                                                                                your account has a surplus or shortage.
      Case 20-12017-pmm               Doc       Filed 11/26/24 Entered 11/26/24 09:45:58                                                                                          Desc Main
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 Escrow Account History Summary                                                                                    YOUR ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT                                             PAGE
                                                                                                                                                                                                               2/5
 Look here to see the details of what                                                                                                                      LOAN NUMBER: XXXXXXXXXX


 was actually paid into and from your
 account and how your actual account                    Escrow Account History

 balance compares with what was                        This section is the actual activity that occurred from MM/YYYY through MM/YYYY. It represents the period of time between the last analysis

 previously projected.
                                                       statement date and the last analysis effective date. Over this period, an additional $XX.XX was deposited into your escrow account for
                                                       interest on escrow.

                                                                                       Actual Escrow              Actual Escrow               Actual Escrow
                                                       MONTH                             PAYMENTS             DISBURSEMENTS                   DESCRIPTION                                                BALANCE
                                                                                                                                              BEGINNING BALANCE                                           $X,XXX.XX
                                                       MMM YYYY                                   XX.XX                          XX.XX        Text                                                         X,XXX.XX




                                                       Escrow account activity from Month YYYY to Month YYYY
                                                       This section details your actual escrow account activity for the review period, which may help explain any changes to your payment.

                                                                            DEPOSITS TO ESCROW                        PAYMENTS FROM ESCROW                                                    ESCROW BALANCE
                                                       Date             Projected       Actual      Difference       Projected       Actual          Difference Description                  Projected       Actual

                                                                                                                                                                BEGINNING BALANCE           $X,XXX.XX     $X,XXX.XX
                                                       MMM YYYY         X,XXX.XX     X,XXX.XX             XXX.XX     X,XXX.XX      X,XXX.XX *          XXX.XX Text                           X,XXX.XX      X,XXX.XX
                                                       MMM YYYY         X,XXX.XX     X,XXX.XX             XXX.XX     X,XXX.XX      X,XXX.XX *          XXX.XX Text                           X,XXX.XX      X,XXX.XX
                                                       MMM YYYY         X,XXX.XX     X,XXX.XX *           XXX.XX     X,XXX.XX      X,XXX.XX            XXX.XX Text                           X,XXX.XX      X,XXX.XX
                                                       MMM YYYY         X,XXX.XX     X,XXX.XX             XXX.XX     X,XXX.XX      X,XXX.XX            XXX.XX Text                           X,XXX.XX      X,XXX.XX
                                                       MMM YYYY         X,XXX.XX     X,XXX.XX             XXX.XX     X,XXX.XX      X,XXX.XX            XXX.XX Text                           X,XXX.XX      X,XXX.XX
                                                       MMM YYYY         X,XXX.XX     X,XXX.XX             XXX.XX     X,XXX.XX      X,XXX.XX            XXX.XX Text                           X,XXX.XX      X,XXX.XX
                                                                                                                   YOUR ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT                                             PAGE
 Escrow Account Projections
                                                       MMM YYYY         X,XXX.XX     X,XXX.XX             XXX.XX     X,XXX.XX      X,XXX.XX *          XXX.XX Text                           X,XXX.XX      X,XXX.XX
                                                                                                                                                           LOAN NUMBER: XXXXXXXXXX                             3/5
                                                       MMM YYYY         X,XXX.XX     X,XXX.XX             XXX.XX     X,XXX.XX      X,XXX.XX            XXX.XX Text                           X,XXX.XX      X,XXX.XX
                                                       MMM YYYY         X,XXX.XX     X,XXX.XX             XXX.XX     X,XXX.XX      X,XXX.XX            XXX.XX Text                           X,XXX.XX      X,XXX.XX
 This is where you can find the                        MMM YYYY         X,XXX.XX     X,XXX.XX *           XXX.XX     X,XXX.XX      X,XXX.XX            XXX.XX Text                           X,XXX.XX      X,XXX.XX


 estimate of all payments we expect to
                                                       MMM YYYY         X,XXX.XX     X,XXX.XX *           XXX.XX     X,XXX.XX      X,XXX.XX            XXX.XX Text                           X,XXX.XX      X,XXX.XX
                                                        Escrow Account Projections
                                                       MMM YYYY         X,XXX.XX     X,XXX.XX             XXX.XX     X,XXX.XX      X,XXX.XX            XXX.XX Text                           X,XXX.XX      X,XXX.XX

 receive from you, and pay out for you,                MMM YYYY         X,XXX.XX     X,XXX.XX             XXX.XX     X,XXX.XX      X,XXX.XX            XXX.XX Text                           X,XXX.XX
                                                       This section provides an estimate of all payments we anticipate receiving as well as what we expect to pay on your behalf in the next year.
                                                       MMM YYYY
                                                                                                                                                                                                           X,XXX.XX

                                                       The lowest projected balance
                                                                      X,XXX.XX       and requiredXXX.XX
                                                                                 X,XXX.XX          minimumX,XXX.XX
                                                                                                            balance are highlighted forXXX.XX
                                                                                                                      X,XXX.XX          reference.
                                                                                                                                              Text                          X,XXX.XX      X,XXX.XX
 each month over the next year. The                    (estimate)

                                                       Escrow
                                                         Totalsaccount projections
                                                                  $X,XXX.XX         from Month
                                                                            $X,XXX.XX    $X,XX.XXYYYY to Month
                                                                                                  $X,XXX.XX     YYYY
                                                                                                            $X,XXX.XX                            $X,XXX.XX
 highlighted amounts are the lowest                                         PAYMENTS                WHAT WE                                                      PROJECTED                             REQUIRED

 projected balance and the required                    An asterisk (*) beside
                                                       DATE                TOanESCROW
                                                                                amount indicates a difference
                                                                                            EXPECT      TO PAYfrom projected activity either in the amount
                                                                                                                    DESCRIPTION
                                                                                                                    BEGINNING BALANCE
                                                                                                                                                           or the date.
                                                                                                                                                        ESCROW          Please note since mortgage
                                                                                                                                                                    BALANCE
                                                                                                                                                                   $X,XXX.XX †
                                                                                                                                                                                            ESCROW insurance is paid
                                                                                                                                                                                                        BALANCE
                                                       monthly on the annual renewal date of the premium and PMI is paid monthly for the prior month’s premium, additional asterisks report in the Account History
                                                                                                                                                                                                       $X,XXX.XX

 minimum balance amounts used to
                                                       for these items, if applicable.
                                                       MMM YYYY                    XXX.XX                XXX.XX Text                                                 X,XXX.XX                           X,XXX.XX
                                                       The "estimate" under any of the dates indicates that the payment or disbursement has not yet occurred, but is estimated to occur as shown.
                                                       MMM YYYY                    XXX.XX                XXX.XX Text                                                 X,XXX.XX                           X,XXX.XX
 determine whether you have a shortage                 MMM YYYY                   XXX.XX                    XXX.XX      Text                                                  X,XXX.XX                     X,XXX.XX

 or surplus.                                           MMM YYYY                   XXX.XX                    XXX.XX      Text                                                  X,XXX.XX
                                                       Last year we anticipated that Disbursements would be made from your Escrow Account during the period equaling $X,XXX.XX. Under
                                                       MMM YYYY               XXX.XX                XXX.XX Text                                         X,XXX.XX                        X,XXX.XX
                                                                                                                                                                                                           X,XXX.XX

                                                       Federal Law, your lowest monthly balance should not have exceeded <$XXX.XX>, or 1/6th of total anticipated payments from the account,

 The required minimum balance is
                                                       MMM YYYY
                                                       unless                 XXX.XX
                                                              your loan contract                    XXX.XX
                                                                                 or State law specifies a lowerText                                     X,XXX.XX
                                                                                                                amount. Under your loan contract and State                              X,XXX.XX
                                                                                                                                                           law your lowest monthly balance
                                                       should not have exceeded
                                                       MMM YYYY                   <$XXX.XX>.
                                                                              XXX.XX                XXX.XX Text                                         X,XXX.XX                        X,XXX.XX

 the minimum acceptable amount in                      MMM YYYY                   XXX.XX                    XXX.XX      Text
                                                       Over this period, an additional $XX.XX was deposited into your escrow account for interest on escrow.
                                                                                                                                                                              X,XXX.XX                     X,XXX.XX
                                                       MMM YYYY                   XXX.XX                    XXX.XX      Text                                         X,XXX.XX                       X,XXX.XX
 your escrow account over the next                     MMM YYYY                   XXX.XX                    XXX.XX      Text                                                  X,XXX.XX                     X,XXX.XX


 12-month period.
                                                       MMM YYYY                   XXX.XX                    XXX.XX      Text                                                  X,XXX.XX                     X,XXX.XX
                                                       MMM YYYY                   XXX.XX                    XXX.XX      Text                                                  X,XXX.XX                     X,XXX.XX

                                                       TOTALS               $X,XXX.XX                $X,XXX.XX


                                                       † Your beginning account balance is negative, which means your account has a deficiency.
                                                       We will collect this deficiency over <XX> months, as part of your shortage.




                                                        New Loan Payment
 New Loan Payment
                                                       Your new payment                             Principal & Interest (P & I)                $XXX.XX                                                    $XXX.XX
 Go here to see a breakdown of your new                consists of:                                                Escrow Deposit                XXX.XX                                                     XXX.XX

 loan payment amount, which includes your                                                                               Other/Text
                                                                                                    Escrow Shortage Amount
                                                                                                                                                 XXX.XX
                                                                                                                                               $XXX.XX
                                                                                                                                                                                                            XXX.XX
                                                                                                                                                                                                          $XXX.XX

 principal and interest, new escrow deposit            NEW LOAN PAYMENT                          Beginning on Month DD, YYYY               $X,XXX.XX                  Beginning on Month DD, YYYY        $X,XXX.XX


 and, if applicable, any monthly escrow
 shortage amount that needs to be paid.




 Customer Service                                       Customer Service

 Here’s how to get in touch with us for                       xxxxxxxxxxxxxxxx.com


 any questions or assistance. Please                          Live Chat: Find all your loan
                                                              information online. Still have questions?
                                                                                                                       Correspondence
                                                                                                                       PO Box XXXX
                                                                                                                                                                  Hours of Operation
                                                                                                                                                                  Mon-Fri: 8:30am–12pm ET
                                                                                                                                                                                                    Telephone
                                                                                                                                                                                                    (XXX) XXX-XXXX

 be sure to include your loan number
                                                              Use Live Chat on the website to speak                    City, XX 123456                            Sat: 8am–2pm ET
                                                              with one of our representatives.
                                                                                                                      We accept telecommunications relay service calls.
 on all correspondence.




We’re here to help!
        Find everything you need to know by going to                                                                                     re about escrow and what it means to you
        <client_website_address>
        firstrust.loanadministration.com                                                                                                 wner, please watch this short video.
        then selecting your mortgage account.
                                                                                                                                     y/3rBEuoV

        For any additional questions, use Live Chat
        to connect directly with an agent.
